                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

JOHN FORD                                     *       CIVIL ACTION NO: 16-742
                                              *
v.                                            *       JUDGE BRIAN A. JACKSON
                                              *
DeRAY McKESSON                                *       MAGISTRATE JUDGE
                                              *       RICHARD L. BOURGEOIS, JR.
******************************************************************
                                      NOTICE OF APPEAL
                      TO FIFTH CIRCUIT COURT OF APPEAL FROM
          FROM ORDER, PARTIAL JUDGMENT, RULING AND ORDER AND
                           JUDGMENT RDs 99, 100, 130 AND 131

        NOW INTO COURT through undersigned counsel comes the Plaintiff, JOHN FORD,

who respectfully hereby gives notice of appeal to the United States Court of Appeals for

the Fifth Circuit from Order [RD 99]; Partial Judgment [RD 100] Ruling and Order [RD 130]

and Judgment [RD 131] entered on August 1, 2023, and July 10, 2024, respectively, which

RD 131 pursuant to 28 USC § 1291 is a final judgment that disposes of all issues in the

case.

        The judgment from which appellate review is sought disposed of all issues through

Judgment [RD 131] entered on July 10, 2024, as a dismissal with prejudice. There was

no hearing or trial held to be transcribed.

        This appeal is taken by JOHN FORD.

        The parties to the judgment, orders or decrees appealed from and the names of and

addresses of their respective attorneys are as follows:


Plaintiff, JOHN FORD, represented by the undersigned

Plaintiff, Officer John Doe Police Officer is represented by the undersigned

Defendant, DeRay McKesson
Represented by
William P. Gibbens 504.680.6050 Fax: 504.680.6051 billy@semmlaw.com
Schonekas, Evans, McGoey & McEachin, LLC
909 Poydras Street, Suite 1600
New Orleans, LA 70112

Defendant, Black Lives Matter, Black Lives Matter Network, Incorporated
Represented by
Christine M. Calogero 504-589-9700 chrissy.calogero@usdoj.gov
Barrasso Usdin Kupperman Freeman & Sarver, L.L.C.
909 Poydras Street, Suite 2350, New Orleans, LA 70112

      May this notice of appeal be deemed proper in the premises.

                                        Respectfully submitted:

                                        s/ Donna U. Grodner
                                        Donna U. Grodner (20840)
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                             CERTIFICATE OF SERVICE

      I hereby certify that on August 5, 2024, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system.

                                               s/ Donna U. Grodner
                                               Donna U. Grodner (20840)




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